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                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                      GRAND RAPIDS DIVISION

  In re:                                          §   Case No. 11-00443-JDG
                                                  §
  PAUL A. DILLS                                   §
  LOIS D. DILLS                                   §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Kelly M. Hagan, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $1,721,903.72           Assets Exempt:        $35,138.16
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $271,312.36         Without Payment:      $0.00

Total Expenses of
Administration:                   $150,703.70


       3)      Total gross receipts of $622,585.00 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $200,568.94 (see Exhibit 2), yielded net receipts of $422,016.06
from the liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS             CLAIMS             CLAIMS              CLAIMS
                                 SCHEDULED           ASSERTED           ALLOWED               PAID
  Secured Claims
  (from Exhibit 3)                          $0.00        $1,343.62          $1,343.62         $1,343.62
  Priority Claims:
      Chapter 7 Admin
      Fees and Charges                         NA     $150,705.05        $150,705.05        $150,703.70
       (from Exhibit 4)
      Prior Chapter
      Admin Fees and                           NA            $0.00              $0.00              $0.00
      Charges (from
      Exhibit 5)
      Priority Unsecured
      Claims                                   NA            $0.00              $0.00              $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit                $19,983.00      $380,742.62        $269,061.15        $269,968.74
  7)
  Total Disbursements
                                      $19,983.00      $532,791.29        $421,109.82        $422,016.06

        4). This case was originally filed under chapter 7 on 01/19/2011. The case was pending
  for -1332 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 03/26/2013                              By: /s/ Kelly M. Hagan
                                                        /Ke Trustee
                                                        lly
                                                        M.
                                                        Hag
                                                        an

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                    EXHIBITS TO
                                                   FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                        UNIFORM                          AMOUNT
                                                                          TRAN.CODE                        RECEIVED
Parcel #2                                                                  1110-000                        $282,500.00
Rental income - Parcels 1, 2, 3, 4, and 5                                  1122-000                         $57,585.00
Property #4- 78 acres vacant land                                          1210-000                        $282,500.00
TOTAL GROSS RECEIPTS                                                                                       $622,585.00

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

               PAYEE                                    DESCRIPTION                         UNIFORM         AMOUNT
                                                                                           TRAN.CODE           PAID
Paul Dills and Lois Dills and Robert        Surplus Funds                                   8200-002        $200,568.9
E. McCarthy                                                                                                          4
TOTAL FUNDS PAID TO                                                                                         $200,568.9
DEBTOR AND THIRD PARTIES                                                                                             4


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM                  CLAIMS        CLAIMS           CLAIMS          CLAIMS
NUMBER                              TRAN. CODE              SCHEDULED      ASSERTED         ALLOWED            PAID
              2011 Summer tax          4700-000                      NA       $1,343.62        $1,343.62     $1,343.62
              23-070-005-200-
              043-0 $517.85;
              2011 Summer tax
              23-070-005-400-
              001-0 $825.77
              Citi Mortgage            4110-000                   $0.00               NA           $0.00          $0.00
TOTAL SECURED CLAIMS                                              $0.00       $1,343.62        $1,343.62     $1,343.62


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM                     CLAIMS   CLAIMS                  CLAIMS              CLAIMS
                           TRAN.CODE                 SCHEDULED ASSERTED                ALLOWED                 PAID
Kelly M. Hagan,               2100-000                          NA    $24,352.15          $24,352.15        $24,350.80
Trustee
Kelly M. Hagan,               2200-000                          NA        $232.71           $232.71           $232.71
Trustee
MRSC Insurance                2300-000                          NA        $414.56           $414.56           $414.56
Partners, LLC
Title Insurance $550;         2500-000                          NA      $5,494.00          $5,494.00         $5,494.00
Recording Fees $71;
City, County, State
Stamps $4,859;
Record Dismisal $14

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Bank of Texas                 2600-000                NA     $5,723.94             $5,723.94         $5,723.94
U.S. Bankruptcy               2700-000                NA         $250.00            $250.00           $250.00
Court - Western
District of Michigan
Internal Revenue              2810-000                NA    $74,026.00           $74,026.00         $74,026.00
Service
pro-rated taxes               2820-000                NA     $1,359.15             $1,359.15         $1,359.15
State of Michigan             2820-000                NA    $22,322.00           $22,322.00         $22,322.00
Norman C. Witte,              3210-000                NA    $13,584.50           $13,584.50         $13,584.50
Attorney for Trustee
Norman C. Witte,              3220-000                NA         $291.86            $291.86           $291.86
Attorney for Trustee
Andrew L. Mitchell,           3410-000                NA     $2,596.50             $2,596.50         $2,596.50
Accountant for
Trustee
Andrew L. Mitchell,           3420-000                NA          $57.68             $57.68            $57.68
Accountant for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                       NA   $150,705.05        $150,705.05          $150,703.70
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES



 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS



 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM            CLAIMANT          UNIFORM        CLAIMS         CLAIMS             CLAIMS          CLAIMS
NUMBER                             TRAN. CODE    SCHEDULED       ASSERTED           ALLOWED            PAID
     1        Chad & Catherine       7100-000           $0.00     $183,681.47         $72,000.00    $72,000.00
              Frazier
     2        Capital One Bank       7100-000              NA       $11,593.17        $11,593.17    $11,593.17
              (USA), N.A.
     3        Chase Bank USA,        7100-000        $6,924.00       $3,094.70         $3,094.70     $3,094.70
              N.A.
     4        Chase Bank USA,        7100-000        $3,310.00       $5,362.23         $5,362.23     $5,362.23
              N.A.
     5        US BANK N.A.           7100-000        $8,909.00       $7,578.49         $7,578.49     $7,578.49
     6        Robert Bohlen          7100-000              NA     $145,000.00        $145,000.00    $145,000.0
                                                                                                             0
     7        GE Money Bank          7100-000         $736.00         $232.56            $232.56      $232.56
              Clerk, US              7990-001           $0.00              $0.00           $0.00         $0.78
              Bankruptcy Court
              (Claim No. 7; GE
              Money Bank)
     8        Hillsdale College      7100-000              NA       $24,200.00        $24,200.00    $24,200.00
              Capital One Bank       7990-000           $0.00              $0.00           $0.00       $39.11
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              (USA), N.A.
              Chad & Catherine    7990-000            $0.00         $0.00         $0.00     $242.87
              Frazier
              Chase Bank USA,     7990-000            $0.00         $0.00         $0.00      $10.44
              N.A.
              Chase Bank USA,     7990-000            $0.00         $0.00         $0.00      $18.09
              N.A.
              Hillsdale College   7990-000            $0.00         $0.00         $0.00      $81.63
              Robert Bohlen       7990-000            $0.00         $0.00         $0.00     $489.11
              US BANK N.A.        7990-000            $0.00         $0.00         $0.00      $25.56
              Menard's            7100-000         $104.00           NA            NA         $0.00
TOTAL GENERAL UNSECURED CLAIMS                   $19,983.00   $380,742.62   $269,061.15   $269,968.7
                                                                                                   4




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                                                             Case:11-00443-jdg             Doc #:110  Filed: 04/03/2013
                                                                                                  FORM 1
                                                                                                                                          Page 6 of 11
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                 Page No:    1                     Exhibit 8
                                                                                        ASSET CASES

Case No.:                     11-00443-JDG                                                                                                        Trustee Name:                             Kelly M. Hagan
Case Name:                    DILLS, PAUL A. AND DILLS, LOIS D.                                                                                   Date Filed (f) or Converted (c):          01/19/2011 (f)
For the Period Ending:        3/26/2013                                                                                                           §341(a) Meeting Date:                     03/14/2011
                                                                                                                                                  Claims Bar Date:                          09/07/2011

                                  1                                        2                            3                                 4                        5                                       6

                         Asset Description                               Petition/               Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                               Unscheduled              (Value Determined by                 Abandoned               Received by             Gross Value of Remaining Assets
                     Unscheduled (u) Property)                            Value                        Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                               Less Liens, Exemptions,
                                                                                                  and Other Costs)

 Ref. #
1       7642 Otto Rd, Charlotte, Mi                                       $160,000.00                                    $0.00                                          $0.00                                          FA
2       Cash                                                                    $223.00                                  $0.00                                          $0.00                                          FA
3       Eaton Federal Savings Bank                                             $1,325.27                          $1,049.27                                             $0.00                                          FA
4       Couch, 3 chairs, piano, 3 tables, dining table and                     $2,500.00                                 $0.00                                          $0.00                                          FA
        6 chirs, 2 beds, 2 dressers, desk, stove,
        refrigerator, washer, dryer
5       Misc books and pictures                                                 $200.00                                  $0.00                                          $0.00                                          FA
6       Personal clothing                                                       $500.00                                  $0.00                                          $0.00                                          FA
7       11 gold rings, 20 necklaces, 3 watches                                 $2,500.00                                 $0.00                                          $0.00                                          FA
8       Walther 380, s&w 38, Remington 22, Remington                            $850.00                             $723.00                                             $0.00                                          FA
        shotgun
9       New York Life                                                      $22,633.18                            $22,632.18                                             $0.00                                          FA
10      2002 Lincoln Continental                                               $4,000.00                            $550.00                                             $0.00                                          FA
11      2005 GMC Sierra                                                        $8,000.00                          $4,550.00                                             $0.00                                          FA
12      66 ft strip of land, Otto rd, Charlotte, MI              (u)           $2,400.00                          $2,399.00                                             $0.00                                          FA
13      Parcel #1- 1.76 acres vacant land                        (u)           $9,375.00                                 $0.00                                          $0.00                                          FA
14      Parcel#3- 152.85 acres vacant land                       (u)     $1,530,000.00                        $1,530,000.00                                             $0.00                                          FA
15      Property #4- 78 acres vacant land                        (u)           Unknown                          $282,500.00                                      $282,500.00                                           FA
16      Property#5- 103.95 acres vacant land                     (u)           Unknown                                   $0.00                                          $0.00                                          FA
17      Property#6- 43.87 acres vacant land                      (u)              $0.00                                  $0.00                                          $0.00                                          FA
18      Property#7- 29.3 acres vacant land                       (u)           Unknown                                   $0.00                                          $0.00                                          FA
19      Doane Hwy, Grand ledge, MI Vacant land                   (u)           $1,800.00                                 $0.00                                          $0.00                                          FA
20      Independent Bank                                                          $0.55                                  $0.27                                          $0.00                                          FA
21      American Equity IRA                                                    $9,730.38                                 $0.00                                          $0.00                                          FA
22      Debtors are trustees of the Paul A. Dills living                          $1.00                                  $0.00                                          $0.00                                          FA
        trust and the Lois D. Dills living trust.
23      Debtors charitable remainder unitrust.                                    $1.00                                  $0.00                                          $0.00                                          FA
24      Dills Excavating LLC                                                      $1.00                                  $0.00                                          $0.00                                          FA
25      Debtors have a potential malpractice claim                                $1.00                                  $0.00                                          $0.00                                          FA
        against Dennis Barret. They do not intend to
        purse.
                                                          Case:11-00443-jdg                      Doc #:110  Filed: 04/03/2013
                                                                                                        FORM 1
                                                                                                                                                   Page 7 of 11
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page No:    2                     Exhibit 8
                                                                                          ASSET CASES

Case No.:                     11-00443-JDG                                                                                                                 Trustee Name:                             Kelly M. Hagan
Case Name:                    DILLS, PAUL A. AND DILLS, LOIS D.                                                                                            Date Filed (f) or Converted (c):          01/19/2011 (f)
For the Period Ending:        3/26/2013                                                                                                                    §341(a) Meeting Date:                     03/14/2011
                                                                                                                                                           Claims Bar Date:                          09/07/2011

                                  1                                             2                                3                                 4                        5                                       6

                         Asset Description                                   Petition/                    Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                   Unscheduled                   (Value Determined by                 Abandoned               Received by             Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                Value                             Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

26      Office equipment                                                            $1,000.00                                     $0.00                                          $0.00                                          FA
27      Parcel #2                                                (u)                Unknown                              $282,500.00                                      $282,500.00                                           FA
28      Rental income - Parcels 1, 2, 3, 4, and 5                                      $0.00                              $57,585.00                                       $57,585.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                  Gross Value of Remaining Assets
                                                                              $1,757,041.38                            $2,184,488.72                                      $622,585.00                                       $0.00



     Major Activities affecting case closing:
      03/17/2011     Sent two record lookup requests to Secretary of State. CSG
      06/02/2011     Motion for settlement has been filed. KMH
      06/02/2011     Motion for settlement has been filed. KMH
      07/19/2011     Filed application to employ accountant for trustee. CSG
      09/19/2011     Real property has been liquidated. KMH
      09/27/2011     Debtor's discharge has been denied. Awaiting arbitration of claim in state court to permit proceeding. KMH
      12/12/2011     Arbitration has been concluded; review remaining claims and prepare estate returns. KMH
      01/18/2012     2011 Federal and State tax returns filed on this date for Lois Dills and for Paul Dills. RAH
      02/29/2012     Filed sale report. CSG
      04/30/2012     Interim disbursements to creditors per order. RAH
      06/18/2012     Review for final distribution after payment of professional fees. KMH
      08/21/2012     TFR submitted to UST. KMH
      12/02/2012     Dividends paid pursuant to TFR. KMH


 Initial Projected Date Of Final Report (TFR):         12/31/2012                               Current Projected Date Of Final Report (TFR):          12/31/2012               /s/ KELLY M. HAGAN
                                                                                                                                                                                KELLY M. HAGAN
                                                            Case:11-00443-jdg        Doc #:110 Filed:
                                                                                            FORM   2 04/03/2013                      Page 8 of 11                      Page No: 1              Exhibit 9

                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          11-00443-JDG                                                                                       Trustee Name:                       Kelly M. Hagan
 Case Name:                        DILLS, PAUL A. AND DILLS, LOIS D.                                                                  Bank Name:                          Bank of Texas
Primary Taxpayer ID #:             ******0985                                                                                         Checking Acct #:                    ******0397
Co-Debtor Taxpayer ID #:           ******0986                                                                                         Account Title:
For Period Beginning:              1/19/2011                                                                                          Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 3/26/2013                                                                                          Separate bond (if applicable):

       1                2                                 3                                             4                                                   5                 6                    7

   Transaction       Check /                          Paid to/                  Description of Transaction                             Uniform           Deposit        Disbursement            Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                 $


09/19/2011                     Smuts Farms, Jeaneen Smuts               Deposit-Sale of Real Property                                     *               $1,000.00                                    $1,000.00
                      {27}                                              Deposit-Parcel #2                                $500.00      1210-000                                                      $1,000.00
                      {15}                                              Deposit-Parcel #4                                $500.00      1210-000                                                      $1,000.00
09/19/2011                     Smuts Farms                              Deposit-Sale of Real Property                                     *              $24,000.00                                $25,000.00
                      {27}                                              Deposit-Parcel #2                              $12,000.00     1210-000                                                     $25,000.00
                      {15}                                              Deposit-Parcel #4                              $12,000.00     1210-000                                                     $25,000.00
10/17/2011                     Bank of Texas                            Account Analysis Fee                                          2600-000                                       $14.32        $24,985.68
11/15/2011                     Bank of Texas                            Account Analysis Fee                                          2600-000                                       $80.66        $24,905.02
11/16/2011                     Bank of Texas                            Reverse Bank Service Fee                                      2600-000                                      ($40.33)       $24,945.35
11/21/2011                     Transaction Title Agency of Michigan     sale of real property                                             *            $531,803.23                                $556,748.58
                      {15}                                              liquidation of real property                  $270,000.00     1110-000                                                    $556,748.58
                      {27}                                              liquidation of real property                  $270,000.00     1110-000                                                    $556,748.58
                                                                        pro-rated taxes                                $(1,359.15)    2820-000                                                    $556,748.58
                                                                        Title Insurance $550; Recording Fees $71;      $(5,494.00)    2500-000                                                    $556,748.58
                                                                        City, County, State Stamps $4,859;
                                                                        Record Dismisal $14
                                                                        2011 Summer tax 23-070-005-200-043-0           $(1,343.62)    4700-000                                                    $556,748.58
                                                                        $517.85; 2011 Summer tax
                                                                        23-070-005-400-001-0 $825.77
12/11/2011           1001      MRSC Insurance Partners, LLC             Blanket Bond Payment                                          2300-000                                      $414.56       $556,334.02
12/14/2011                     Bank of Texas                            Account Analysis Fee                                          2600-000                                      $288.13       $556,045.89
01/03/2012            (28)     Jeaneen Smuts, Smuts Farms               Rental Payment                                                1122-000           $57,585.00                               $613,630.89
01/17/2012                     Bank of Texas                            Account Analysis Fee                                          2600-000                                      $898.09       $612,732.80
01/17/2012           1002      Internal Revenue Service                 2011 Form 1041; EIN XX-XXXXXXX (Paul Dills)                   2810-000                                $37,013.00          $575,719.80
01/17/2012           1003      State of Michigan                        2011 MI-1041; EIN XX-XXXXXXX (Paul Dills)                     2820-000                                $11,161.00          $564,558.80
01/17/2012           1004      Internal Revenue Service                 2011 Form 1041; EIN XX-XXXXXXX (Lois Dills)                   2810-000                                $37,013.00          $527,545.80
01/17/2012           1005      State of Michigan                        2011 MI-1041; EIN XX-XXXXXXX (Lois Dills)                     2820-000                                $11,161.00          $516,384.80
02/14/2012                     Bank of Texas                            Account Analysis Fee                                          2600-000                                      $941.67       $515,443.13
03/06/2012           1006      Norman C. Witte                          Fees pursuant to 3/4/12 order                                 3210-000                                $12,296.50          $503,146.63


                                                                                                                                     SUBTOTALS           $614,388.23         $111,241.60
                                                           Case:11-00443-jdg                 Doc #:110 Filed:
                                                                                                    FORM   2 04/03/2013          Page 9 of 11                      Page No: 2             Exhibit 9

                                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          11-00443-JDG                                                                                   Trustee Name:                       Kelly M. Hagan
 Case Name:                        DILLS, PAUL A. AND DILLS, LOIS D.                                                              Bank Name:                          Bank of Texas
Primary Taxpayer ID #:             ******0985                                                                                     Checking Acct #:                    ******0397
Co-Debtor Taxpayer ID #:           ******0986                                                                                     Account Title:
For Period Beginning:              1/19/2011                                                                                      Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 3/26/2013                                                                                      Separate bond (if applicable):

       1                2                                 3                                                     4                                      5                  6                   7

   Transaction       Check /                           Paid to/                         Description of Transaction                 Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                        Received From                                                                 Tran Code            $                 $


03/06/2012           1007      Norman C. Witte                               Expenses pursuant to 3/4/12 order                    3220-000                                      $219.96      $502,926.67
03/14/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $776.62      $502,150.05
04/02/2012           1008      Andrew L. Mitchell                            Fees pursuant to 3/28/12 order                       3410-000                                    $2,596.50      $499,553.55
04/02/2012           1009      Andrew L. Mitchell                            Expenses pursuant to 3/28/12 order                   3420-000                                       $57.68      $499,495.87
04/16/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $815.78      $498,680.09
04/19/2012           1010      Chad & Catherine Frazier                      Distribution on Claim #: 1;                          7100-000                                $72,000.00         $426,680.09
04/19/2012           1011      Capital One Bank (USA), N.A.                  Distribution on Claim #: 2;                          7100-000                                $11,593.17         $415,086.92
04/19/2012           1012      Chase Bank USA, N.A.                          Distribution on Claim #: 3;                          7100-000                                    $3,094.70      $411,992.22
04/19/2012           1013      Chase Bank USA, N.A.                          Distribution on Claim #: 4;                          7100-000                                    $5,362.23      $406,629.99
04/19/2012           1014      US BANK N.A.                                  Distribution on Claim #: 5;                          7100-000                                    $7,578.49      $399,051.50
04/19/2012           1015      Robert Bohlen                                 Distribution on Claim #: 6;                          7100-000                               $145,000.00         $254,051.50
04/19/2012           1016      GE Money Bank                                 Distribution on Claim #: 7;                          7100-000                                      $232.56      $253,818.94
04/19/2012           1017      Hillsdale College                             Distribution on Claim #: 8;                          7100-000                                $24,200.00         $229,618.94
05/14/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $777.68      $228,841.26
06/14/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $448.14      $228,393.12
07/16/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $356.00      $228,037.12
07/24/2012           1018      Norman C. Witte                               Fees pursuant to 7/24/12 order                       3210-000                                    $1,288.00      $226,749.12
07/24/2012           1019      Norman C. Witte                               Expenses pursuant to 7/24/12 order                   3220-000                                       $71.90      $226,677.22
08/14/2012                     Bank of Texas                                 Account Analysis Fee                                 2600-000                                      $367.18      $226,310.04
12/02/2012           1020      Kelly M. Hagan                                Trustee Compensation                                 2100-000                                $24,350.80         $201,959.24
12/02/2012           1021      Kelly M. Hagan                                Trustee Expenses                                     2200-000                                      $232.71      $201,726.53
12/02/2012           1022      U.S. Bankruptcy Court - Western District of   Distribution on Claim #: ;                           2700-000                                      $250.00      $201,476.53
                               Michigan
12/02/2012           1023      Chad & Catherine Frazier                      Distribution on Claim #: 1;                              *                                         $242.87      $201,233.66
                                                                             Interest                                $(242.87)    7990-000                                                   $201,233.66
12/02/2012           1024      Capital One Bank (USA), N.A.                  Distribution on Claim #: 2;                              *                                          $39.11      $201,194.55
                                                                             Interest                                 $(39.11)    7990-000                                                   $201,194.55



                                                                                                                                 SUBTOTALS                 $0.00         $301,952.08
                                                           Case:11-00443-jdg            Doc #:110 Filed:
                                                                                               FORM   2 04/03/2013                          Page 10 of 11                      Page No: 3              Exhibit 9

                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          11-00443-JDG                                                                                               Trustee Name:                        Kelly M. Hagan
 Case Name:                        DILLS, PAUL A. AND DILLS, LOIS D.                                                                          Bank Name:                           Bank of Texas
Primary Taxpayer ID #:             ******0985                                                                                                 Checking Acct #:                     ******0397
Co-Debtor Taxpayer ID #:           ******0986                                                                                                 Account Title:
For Period Beginning:              1/19/2011                                                                                                  Blanket bond (per case limit):       $1,000,000.00
For Period Ending:                 3/26/2013                                                                                                  Separate bond (if applicable):

       1                2                                   3                                               4                                                       5                  6                   7

   Transaction       Check /                           Paid to/                     Description of Transaction                                Uniform            Deposit         Disbursement           Balance
      Date            Ref. #                        Received From                                                                            Tran Code             $                  $


12/02/2012           1025      Chase Bank USA, N.A.                      Distribution on Claim #: 3;                                              *                                          $10.44       $201,184.11
                                                                         Interest                                                $(10.44)     7990-000                                                    $201,184.11
12/02/2012           1026      Chase Bank USA, N.A.                      Distribution on Claim #: 4;                                              *                                          $18.09       $201,166.02
                                                                         Interest                                                $(18.09)     7990-000                                                    $201,166.02
12/02/2012           1027      US BANK N.A.                              Distribution on Claim #: 5;                                          7990-000                                       $25.56       $201,140.46
12/02/2012           1028      Robert Bohlen                             Distribution on Claim #: 6;                                              *                                         $489.11       $200,651.35
                                                                         Interest                                               $(489.11)     7990-000                                                    $200,651.35
12/02/2012           1029      Clerk, US Bankruptcy Court                Small Dividends                                                      7990-001                                        $0.78       $200,650.57
12/02/2012           1030      Hillsdale College                         Distribution on Claim #: 8;                                              *                                          $81.63       $200,568.94
                                                                         Interest                                                $(81.63)     7990-000                                                    $200,568.94
12/02/2012           1031      Paul Dills and Lois Dills and Robert E.   Distribution on Claim #: ;                                           8200-002                                $200,568.94                  $0.00
                               McCarthy
01/08/2013                     USbank                                    Refund Credit                                                        7990-002                                      ($25.56)           $25.56
01/25/2013           1032      US BANK N.A.                              Interest on claim (reissuing interest portion)                       7100-000                                       $25.56                $0.00

                                                                                              TOTALS:                                                            $614,388.23          $614,388.23                  $0.00
                                                                                                  Less: Bank transfers/CDs                                             $0.00                $0.00
                                                                                              Subtotal                                                           $614,388.23          $614,388.23
                                                                                                  Less: Payments to debtors                                            $0.00          $200,568.94
                                                                                              Net                                                                $614,388.23          $413,819.29



                     For the period of 1/19/2011 to 3/26/2013                                                             For the entire history of the account between 09/19/2011 to 3/26/2013

                     Total Compensable Receipts:                         $622,585.00                                      Total Compensable Receipts:                               $622,585.00
                     Total Non-Compensable Receipts:                           $0.00                                      Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $622,585.00                                      Total Comp/Non Comp Receipts:                             $622,585.00
                     Total Internal/Transfer Receipts:                         $0.00                                      Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                    $422,016.06                                      Total Compensable Disbursements:                          $422,016.06
                     Total Non-Compensable Disbursements:                $200,568.94                                      Total Non-Compensable Disbursements:                      $200,568.94
                     Total Comp/Non Comp Disbursements:                  $622,585.00                                      Total Comp/Non Comp Disbursements:                        $622,585.00
                     Total Internal/Transfer Disbursements:                    $0.00                                      Total Internal/Transfer Disbursements:                          $0.00
                                                         Case:11-00443-jdg      Doc #:110 Filed:
                                                                                       FORM   2 04/03/2013              Page 11 of 11                         Page No: 4           Exhibit 9

                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         11-00443-JDG                                                                               Trustee Name:                         Kelly M. Hagan
Case Name:                       DILLS, PAUL A. AND DILLS, LOIS D.                                                          Bank Name:                            Bank of Texas
Primary Taxpayer ID #:           ******0985                                                                                 Checking Acct #:                      ******0397
Co-Debtor Taxpayer ID #:         ******0986                                                                                 Account Title:
For Period Beginning:            1/19/2011                                                                                  Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               3/26/2013                                                                                  Separate bond (if applicable):

      1                 2                                3                                          4                                             5                   6                7

  Transaction        Check /                         Paid to/               Description of Transaction                       Uniform           Deposit          Disbursement        Balance
     Date             Ref. #                      Received From                                                             Tran Code            $                   $




                                                                                                                                                                          NET          ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE         BALANCES

                                                                                                                                             $614,388.23           $614,388.23                 $0.00




                     For the period of 1/19/2011 to 3/26/2013                                            For the entire history of the case between 01/19/2011 to 3/26/2013

                     Total Compensable Receipts:                     $622,585.00                         Total Compensable Receipts:                               $622,585.00
                     Total Non-Compensable Receipts:                       $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $622,585.00                         Total Comp/Non Comp Receipts:                             $622,585.00
                     Total Internal/Transfer Receipts:                     $0.00                         Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                $422,016.06                         Total Compensable Disbursements:                          $422,016.06
                     Total Non-Compensable Disbursements:            $200,568.94                         Total Non-Compensable Disbursements:                      $200,568.94
                     Total Comp/Non Comp Disbursements:              $622,585.00                         Total Comp/Non Comp Disbursements:                        $622,585.00
                     Total Internal/Transfer Disbursements:                $0.00                         Total Internal/Transfer Disbursements:                          $0.00
